     Case 2:20-cv-09999-MAA Document 26 Filed 11/08/21 Page 1 of 2 Page ID #:817


1    TRACY L. WILKISON
     Acting United States Attorney
2    DAVID M. HARRIS
3    Assistant United States Attorney
     Chief, Civil Division
4
     CEDINA M. KIM                                                             JS-6
5    Assistant United States Attorney
6    Senior Trial Attorney, Civil Division
     PAUL SACHELARI, CSBN 230082
7    Special Assistant United States Attorney
8          Social Security Administration
           160 Spear St., Suite 800
9          San Francisco, CA 94105
10         Telephone: (510) 970-4853
           Facsimile: (415) 744-0134
11
           Email: paul.sachelari@ssa.gov
12   Attorneys for Defendant
13                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
14
                                     WESTERN DIVISION
15
     KIMBERLY GRAY,                            ) No. 2:20-cv-09999-MAA
16                                             )
           Plaintiff,                          ) [PROPOSED]
17                                             )
                  v.                           ) JUDGMENT OF REMAND
18                                             )
                                               )
19   KILOLO KIJAKAZI, Acting                   )
                                               )
20   Commissioner of Social Security,          )
                                               )
21         Defendant.                          )
22
           The Court having approved the parties’ Stipulation to Voluntary Remand
23
24   Pursuant to Sentence 4 of 42 U.S.C. § 405(g) and to Entry of Judgment (“Stipulation

25   of Remand”) lodged concurrent with the lodging of the within Judgment of Remand.
26         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-
27   captioned action is remanded to the Commissioner of Social Security for further
28   ///
     ///
     Case 2:20-cv-09999-MAA Document 26 Filed 11/08/21 Page 2 of 2 Page ID #:818


1    proceedings consistent with the Stipulation of Rema
                                                    Remand.
                                                       and.
2
     DATED:     11/08/21
3                                         HON. MARIA
                                                ARRIA A
                                                      A.. A
                                                          AUDERO
                                                            UDERO
                                                                O
4                                         UNITED ST
                                                 STATES            JUDGE
                                                  TATES MAGISTRATE JUDG
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
